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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   ) 2:03-cr-00371-MCE
12                    Plaintiff,   )
                                   ) STIPULATION TO CONTINUE
13                v.               ) SENTENCING DATE
                                   )
14   DEREK LADONTE MADDOX,         )
                                   ) DATE: May 31, 2007
15                    Defendant.   ) TIME: 9:30 a.m.
     ______________________________) CTRM: Hon. Morrison C. England, Jr.
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and Assistant United States Attorney, William S.
20   Wong, and defendant Derek Ladonte Maddox, through his counsel,
21   Michael Bigelow, Esq., hereby submits this stipulation to continue
22   the sentencing date, which is currently set for May 31, 2007, at
23   9:00 a.m., and requests that this Court continue the sentencing date
24   to July 19, 2007, at 9:00 a.m.
25        The reason for continuing the sentencing date in this matter is
26   because defendant Maddox has been transported to the District of
27   Minnesota for his testimony in a bank robbery case in which he
28   previously agreed to cooperate with the government.

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 1   It is estimated that defendant Maddox would be returned to this
 2   district for sentencing in this matter sometime in mid-June.
 3   Furthermore, the parties would like additional time to file any
 4   formal objections to the presentence report previously filed.            The
 5   parties agree to file any formal objections simultaneously by June
 6   29, 2007.   The reply, if any, by July 6, 2007.        The parties
 7   respectfully request that the Court set a sentencing date for this
 8   matter on July 19, 2007, at 9:00 a.m.
 9
10                                             Respectfully submitted,
11                                             McGREGOR W. SCOTT
                                               United States Attorney
12
13   DATED:   May 29, 2007                     By: /s/William S. Wong
                                               WILLIAM S. WONG
14                                             Assistant U.S. Attorney
                                               Attorneys for Plaintiff
15
16   DATED:   May 29, 2007                     By: /s/ William S. Wong as
                                               authorized by
17                                             MICHAEL BIGELOW, Esq.
                                               Attorney for Defendant Derek
18                                             Ladonte Maddox
19
                                        ORDER
20
          For the foregoing reasons, the sentencing hearing in this
21
     matter is continued to July 19, 2007, at 9:00 a.m.
22
23   Dated: May 30, 2007

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                                        _____________________________
25                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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